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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                                www.flsb.uscourts.gov

In re:
                                                         Case No. 18-20331-LMI
VIVIAN SANCHEZ                                           Chapter 13
aka VIVIAN SANCHEZ RAMOS,

                  Debtor.
__________________________________x

                     NOTICE TO WITHDRAW PROOF OF CLAIM

         PLEASE TAKE NOTICE that creditor, WESTBIRD VILLAGE CONDOMINIUM

ASSOCIATION INC., by and through its undersigned counsel and hereby WITHDRAWS the

Proof of Claim filed on September 26, 2018 marked as Claim Number 3 on the Court’s Claims

Register in the amount of $23,589.27.


Dated: Coral Springs, FL
       September 26, 2018
                                           BAKALAR & ASSOCIATES, P.A.
                                           ATTORNEYS FOR WESTBIRD VILLAGE
                                           CONDOMINIUM ASSOCIATION INC.


                                           BY:    /s/ Susan P. Bakalar
                                                  Susan P. Bakalar, Esq.
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